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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,
       Plaintiff,
  v.
                                                        CASE NO.: 22-CR-20104

  MARIO ANTONIO PALACIOS PALACIOS
       Defendant.
                                                        /


                                 SENTENCING MEMORANDUM

         Defendant Mario Antonio Palacios Palacios (“Palacios”) is being sentenced upon his

  adjudication of guilty to Conspiracy to provide material support or resources to carry out a

  violation of Title 18, Unites States Code, Section 956(a)(1), resulting in death, 18 United States

  Code, Section 2339A(a), Providing material support or resources to carry out a violation of

  Section 956(a)(a), resulting in death, 18 United States Code, Section 2339A(a), and Conspiracy

  to kill or kidnap a person outside of the United States, in violation of 18 United States Code,

  Section 956(a)(1).

                 POST-BOOKER 3553(a) SENTENCING CONSIDERATIONS

                                  Palacios's Personal Characteristics

         Palacios is currently 45 years old. He was born and raised in Choco, Colombia by his

  paternal grandparents in a humble household with no running water or electricity. Palacios

  attended high school and later became a soldier for the Colombian Army. He was a solder in the

  Colombian Army for 20 years until he retired in December of 2019. After his retirement he

  began to work repairing air conditioners. He is currently married to his wife and together they

  have 3 children.




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     Reflect the Seriousness of the Offense, to Promote Respect for the Law, and to Provide Just
                                     Punishment for the Offense


         Although this is a serious offense and Palacios should be punished for what he did, a

  guideline sentence does not necessarily equate to a sentence that adequately reflects Palacios’s

  personal characteristics. A guideline sentence in this case for Palacios, when taking into account

  all other factors is excessively harsh for such a crime and an individual such as Palacios.

  Palacios understands and has admitted that his conduct is unacceptable and understands that he

  deserves to be punished.

                         The Need to Avoid Unwarranted Sentence Disparity

          Palacios deserves to be punished for his actions but should be punished proportionately

  with his conduct taking into account the punishment received by other individuals in his same

  position.

                         To Afford Adequate Deterrence of Criminal Conduct

         Palacios should be sentenced to a sentence that sends a message to individuals who

  transgress society's laws, and demonstrates that this conduct will not be tolerated, while at the

  same time complying with the mandate that the sentence should be sufficient, but not greater

  than necessary to accomplish the objectives established by 18 U.S.C. § 3553.


                     To Protect the Public from Further Crimes of the Defendant

         This is a significant factor in imposing sentence. Palacios has never had contact with law

  enforcement before this case. With the exception of the conduct in this case Palacios has always

  been a hard-working law-abiding citizen. He has a supportive family, has learned from his

  mistakes, and is not likely to continue to commit crimes.




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                                             CONCLUSION


             For all of the above reasons, this Court should impose upon Palacios a sentence

  minimally sufficient to achieve the statutory purpose of punishment considering all the above-

  mentioned factors.

                                                                 Respectfully submitted,

                                                                  /s/Alfredo A. Izaguirre
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                                                                 Coral Gables, FL 33134
                                                                 Tel:(305)442-0425
                                                                 Fax:(305)442-0429
                                                                 FL Bar# 13556

                                     CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on February 23, 2024, I electronically filed the foregoing with the

  Clerk of the Court using the CM/ECF system, which will send notice of electronic filing to all

  parties.
                                                                 /s/Alfredo A. Izaguirre
                                                                 Alfredo A. Izaguirre, Esq.




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